                  Case 2:21-cv-00652-MJP Document 8 Filed 09/22/21 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7
                                  UNITED STATES DISTRICT COURT
 8
                                 WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 9

10           TRYSTON SMITH,                                      CASE NO. C21-652 MJP

11                                   Plaintiff,                  ORDER OF DISMISSAL

12                   v.

13           DOMINQUE HAMPTON, et al.,

14                                   Defendants.

15

16           The Court approved a Minute Order entered on September 8, 2021 that noted the Parties’

17   failure to file a joint status report as required by September 7, 2021 and required the Parties to

18   file a joint status report by September 18, 2021. (Dkt. No. 7.) The Court warned the Parties that

19   failure to file the joint status report could result in dismissal for failure to prosecute. (Id.) As of

20   the date of this Order, the Parties have not filed a joint status report. The Court DISMISSES the

21   case without prejudice for failure to prosecute. See Fed. R. Civ. P. 41(b).

22           \\

23           \\

24


     ORDER OF DISMISSAL - 1
              Case 2:21-cv-00652-MJP Document 8 Filed 09/22/21 Page 2 of 2




 1         The clerk is ordered to provide copies of this order to all counsel.

 2         Dated September 22, 2021.

 3                                                       A
                                                         Marsha J. Pechman
 4
                                                         United States Senior District Judge
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


     ORDER OF DISMISSAL - 2
